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                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA


    DONALD ROWE                                                      CIVIL ACTION

    VERSUS
                                                                     19-863-SDD-SDJ
    PRIMERICA LIFE INSURANCE
    COMPANY, GUARDIAN LIFE
    INSURANCE COMPANY OF AMERICA,
    CHRIS DANTIN, INC., AND CHRIS
    DANTIN


                                           RULING

          Local Rule 7(f) of the Middle District of Louisiana requires that memoranda in

opposition to a motion be filed within twenty-one (21) days after service of the motion.

          In the present case, a Rule 12(b)(6) Partial Motion to Dismiss1 was electronically

filed by Defendant, Guardian Life Insurance Company of America (“Guardian”), on

November 13, 2020. A review of the record shows that an opposition was due on

December 4, 2020; thus, well more than twenty-one (21) days have elapsed since the

filing of this motion, and no memorandum in opposition has been submitted to date.

Further, the record reveals that Plaintiff, Donald Rowe (“Plaintiff”) has not sought an

extension of time to oppose this motion.

          Therefore, this Motion is deemed to be unopposed, and further, after reviewing the

record, the Court finds that the Motion has merit as a matter of law. Accordingly,



1
    Rec. Doc. No. 33.
Document Number: 64789                                                                     1
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          IT IS HEREBY ORDERED that the Rule 12(b)(6) Partial Motion to Dismiss2 is

GRANTED. All claims brought by Susan Rowe are dismissed with prejudice. Further,

the following claims asserted by Plaintiff are also dismissed with prejudice: claims under

La. R.S. 22:1892 and 22:1893; claims for intentional/negligent infliction of emotional

distress; claim for bad faith penalties associated with the previously mentioned claims.

          Any response to this Ruling explaining the failure to comply with the deadline,

based on the appropriate Federal Rule of Civil Procedure, shall be filed within fourteen

(14) days and must be accompanied by an opposition memorandum to the original

Motion.

          IT IS SO ORDERED.

          Baton Rouge, Louisiana, this 11th day of January, 2021.


                                                S
                                           ________________________________
                                           SHELLY D. DICK
                                           CHIEF DISTRICT JUDGE
                                           MIDDLE DISTRICT OF LOUISIANA




2
    Rec. Doc. No. 33.
Document Number: 64789                                                                     2
